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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                                                      ay_
           IN RE:                                                  CASE NO. 18-68479-

           JAMES EDWARD CARTER, IV                                 CHAPTER 11

                    Debtor.


                      CLASS 4 BALLOT FOR ACCEPTING OR REJECTING
                                PLAN OF REORGANIZATION


           James Edward Carter, IV filed an Amended Plan of Reorganization dated May 7, 2019 (the
   "Plan") (Doc. 48) for the Debtor in this case. The Court has approved a disclosure statement with respect
   to the Plan (the "Disclosure Statement"). The Disclosure Statement provides information to assist you in ,
   deciding how to vote your ballot and is included in this mailing. Court approval of the disclosure
   statement does not indicate approval of the Plan by the Court. •

           You should review the Disclosure Statement and the Plan before you vote. You may wish to
   seek legal advice concerning the Plan and your classification and treatment under the. Plan. Your
   Claim has been placed in Class 4 under the Plan. If you hold claims or equity interests in more than
   one class, you will receive a ballot for each class in which you are entitled to vote.

           If your ballot is not received by The Clerk of the Bankruptcy Court or filed via ECF system ;
    on or before JULY 5, 2019 and such deadline is not extended, your vote will not count as either an
    acceptance or rejection of the Plan,

           If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not
    you vote.
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                        ACCEPTANCE OR REJECTION OF THE PLAN
   The undersigned, the holder of a Class 4 claim against the Debtor in the unpaid amount of:
            $45,948.13 American Express National Bank
            Account Ending: 1004




             (Cheek one box only)

                ACCEPTS THE PLAN                                          X REJECTS THE PLAN

   Dated:
            June 24, 2019


                                    Print or type name:        Ken th        K          er
                                    Signature:
                                    Title (if corporation or par eip  Attor              for credit r
                                    Address:               c/o     cket & Lee L   ,,PO Box 3001,_ Malvern   PA 19355




   RETURN THIS BALLOT TO:

    United States Bankruptcy Court for the Northern District of Georgia
    Clerk of Bankruptcy Court
    7-5 Ted Turner Drive, SW
    Room 1340
    Atlanta, GA 30303                       With email copy to: hs@atl.law
